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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA
    __________________________________________________________________________________

JAH JAH BEY,                                                                 CASE NO. ________________
           Plaintiff,
                                                                             Judge
         vs.

TRANS UNION LLC,
            Defendant.
____________________________________________________________________________________

                      TRANS UNION, LLC’S NOTICE OF REMOVAL
     ______________________________________________________________________________

         Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant Trans Union, LLC (“Trans Union”)

hereby removes the subject action from the Superior Court of the District of Columbia to the United

States District Court for District of Columbia, on the following grounds:

        1.        Plaintiff Jah Jah Bey served Trans Union on or about January 7, 2014, with a Summons

and Complaint filed in the Superior Court of the District of Columbia. Copies of the Summons and

Complaint are attached hereto as Exhibit A and Exhibit B. 1 No other process, pleadings or orders have

been served on Trans Union.

         2.       Plaintiff makes claims under, alleges that Trans Union violated and alleges that Trans

Union is liable under the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq. (the “FCRA”). See

Complaint ¶¶ 31-39.

        3.        This Court has original jurisdiction over the subject action pursuant to 28 U.S.C. § 1331

since there is a federal question. As alleged, this suit falls within the FCRA which thus supplies this

federal question.

1
 Trans Union has made redactions to the Exhibits attached to the Complaint in order to comply with Federal Rule of Civil
Procedure 5.2 and Local Civil Rule 5.4(f).
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       4.      Pursuant to 28 U.S.C. § 1441, et seq., this cause may be removed from the Superior Court

of the District of Columbia to the United States District Court for the District of Columbia.

       5.      Notice of this removal will promptly be filed with the Superior Court of the District of

Columbia and served upon all adverse parties.

       WHEREFORE, Defendant Trans Union, LLC, by counsel, removes the subject action from the

Superior Court of the District of Columbia to this United States District Court, District of Columbia.




                                                      Respectfully submitted,



                                                      /s/ H. Mark Stichel
                                                      H. Mark Stichel, Esq. (DC Bar #503038)
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                                                      Counsel for Defendant Trans Union, LLC




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                                     CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing has been filed electronically on the

24th day of January, 2014. Notice of this filing will be sent to the following parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s electronic filing.



       The undersigned further certifies that a true copy of the foregoing was served on the following

parties via First Class, U.S. Mail, postage prepaid, on the 24th day of January, 2014, properly addressed

as follows:

Pro Se Plaintiff
Jah Jah Bey
4274 East Capital Street, #201
Northeast Washington, DC 20019



                                                      /s/ H. Mark Stichel
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                                                      Counsel for Defendant Trans Union, LLC




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